Case 1:22-cv-02791-ACR Document 144-4 Filed 06/18/24 Page 1 of 6




                    Exhibit 4
              Case 1:22-cv-02791-ACR Document 144-4 Filed 06/18/24 Page 2 of 6
                                                                                                                  Hogan Lovells US LLP
                                                                                                                  Columbia Square
                                                                                                                  555 Thirteenth Street, NW
                                                                                                                  Washington, DC 20004
                                                                                                                  T +1 202 637 5600
                                                                                                                  F +1 202 637 5910
                                                                                                                  www.hoganlovells.com




Wednesday, April 17, 2024

Via Email

Melinda Coolidge
Hausfeld
888 16th Street NW
Suite 300
Washington, DC 20006

Re:          United States of America v. ASSA ABLOY AB, et al., 1:22-cv-02791-ACR (D.D.C.)

Dear Melinda:

I write on behalf of ASSA ABLOY with respect to the work of the monitoring trustee in the above-
referenced matter.

As discussed on our April 2 call, ASSA ABLOY is concerned that there is a fundamental disagreement
regarding the scope of the monitor’s responsibilities under the Final Judgment. The monitoring trustee
is tasked with monitoring Defendants’ compliance with the terms of the Final Judgment. See ECF No.
143 at Section X. The Final Judgment requires divestiture of ASSA ABLOY’s Premium Mechanical
and Smart Lock Divestiture Assets. Id. at Section V and VI. The Final Judgment also allows the
monitoring trustee to evaluate whether the divestiture buyer’s competitive intensity in the Smart Locks
business is diminished between three and five years from the date of the entry of the Final Judgment
(i.e., between June 20, 2026 to September 23, 2028) specifically as a result of limitations on the
buyer’s rights to use the rights to the Yale brand name or trademarks in the U.S. or Canada that ASSA
ABLOY held as of the Divestiture Date Id. at Section IV. The Final Judgment contemplates only the
transfer of assets of complete businesses, along with the provision of interim supply and transition
services, and accordingly the monitoring trustee’s responsibilities are narrow. Unlike in other cases
involving a monitorship, there is no complex conduct remedy for the monitoring trustee to oversee.

As explained below, ASSA ABLOY has complied with its divestiture obligations—the Premium
Mechanical and Smart Lock Divestiture Assets have been transferred to Fortune Brands. While the
monitoring trustee should continue to monitor ASSA ABLOY’s compliance with the terms of the supply
and transition services agreements, this narrow task should require relatively little burden and
expense. However, we understand, based on our call, that the monitoring trustee intends to conduct
an ongoing “study” of competition in the smart lock industry, presumably pursuant to Section IV of the
Final Judgment, including by demanding documents, data, and interviews of ASSA ABLOY that are
not related to the “competitive intensity” of Fortune Brands, much less the competitive intensity of
Fortune Brands in the period from 2026 through 2028. While we had hoped that the monitoring
trustee’s large invoices were the result of a short-term need to “get up to speed” with the relevant
transaction documents and existing litigation record, it is now clear, based on the astounding $1.5
million in invoices received over the past few months, that the monitoring trustee is far exceeding the
scope of the monitor’s agreed-upon responsibilities, resulting in extreme and unreasonable burdens
on ASSA ABLOY that are inconsistent with the Final Judgment, as explained in more detail below.


Hogan Lovells US LLP is a limited liability partnership registered in the District of Columbia. “Hogan Lovells” is an international legal practice that includes Hogan Lovells US LLP
and Hogan Lovells International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Birmingham Boston Brussels Colorado Springs Denver Dubai Dusseldorf
Frankfurt Hamburg Hanoi Ho Chi Minh City Hong Kong Houston Johannesburg London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis Monterrey
Munich New York Northern Virginia Paris Perth Philadelphia Rome San Francisco São Paulo Shanghai Silicon Valley Singapore Sydney Tokyo Warsaw Washington,
D.C. Associated Offices: Budapest Jakarta Riyadh Shanghai FTZ Ulaanbaatar. Business Service Centers: Johannesburg Louisville. Legal Services Center: Berlin. For
more information see www.hoganlovells.com
        Case 1:22-cv-02791-ACR Document 144-4 Filed 06/18/24 Page 3 of 6
                                                  -2-

I.      PREMIUM MECHANICAL AND SMART LOCK DIVESTITURES

With respect to the divestitures, as explained in ASSA ABLOY’s July 27, 2023 Declaration Pursuant
to Proposed Final Judgment, the divestiture of the Smart Lock Divestiture Assets, with the exception
of the Smart Lock Foreign Divestiture Assets located in Vietnam, was complete on June 20, 2023.
ASSA ABLOY responded to all of your questions to date regarding ASSA ABLOY’s compliance with
Section VI(C) of the Final Judgment with respect to the Smart Lock Foreign Divestiture Assets located
in Vietnam. As we explained in our Interrogatory responses dated January 25, 2024, pursuant to the
Capital Contribution Transfer Agreement, produced on January 5 via Egress and again on March 22
in response to DR_13, control of the foreign divestiture assets in Vietnam transferred to Fortune
Brands as of the effective date of that agreement—December 22, 2023. Additionally, Fortune Brands
has been the registered owner of the foreign divestiture assets, and Mr. Jason Williams, a Fortune
Brands employee, has been the registered representative and Chairperson of the legal entity that
owns those assets since November 23, 2023, as evidenced by the documents produced on March 22
in response to DR_10 and DR_12. Fortune Brands’ own counsel has represented, to both the
monitoring trustee and the Department of Justice, that Mr. Williams, a Fortune employee, “directs all
aspects of the business and operations”; that Mr. Christopher Demko, another Fortune employee,
“takes direction from Jason Williams, and, in turn, directs the day-to-day operations of the business”;
the employees of the business are “paid via the entity’s own payroll [and] the entity’s operations
generate sufficient cash to fund its working capital requirements”; and that “[n]o member of the ASSA
ABLOY Group has any role in the oversight, management, or control” of the business. See Email from
Jonathan Blackburn of Sidley Austin LLP, dated February 14, 2024 and produced on February 16,
2024.

Operational control of the Smart Lock Foreign Divestiture Assets transferred prior to December 31,
2023. If you dispute the change in control of the Smart Lock Foreign Divestiture Assets in Vietnam,
please identify any information supporting your position by Friday, April 19, so that we can bring this
dispute to the attention of the Court, if necessary.

II.     ADDITIONAL RELIEF UNDER SECTION IV

Based on our April 2 call, we understand that you (together with a team of additional attorneys and
economists) intend to conduct an ongoing study of competition in the smart lock business that far
exceeds the plain language of the Final Judgment, at tremendous expense to ASSA ABLOY. While
the full scope of this study is unclear to ASSA ABLOY at this time, we understand that it exceeds the
scope of the relief provided for in the Final Judgment in several fundamental respects:

First, you indicated that the monitoring trustee (and a team of attorneys and economists) intends to
conduct an ongoing analysis of competition in the Smart Lock industry throughout the three year period
immediately following the Divestiture Date, despite the fact that the Final Judgment makes plain that
the relevant question is the competitive intensity of the divested business starting three years following
that date. The Final Judgment, in explicitly calling for a determination after June 20, 2026 and prior to
September 23, 2028, does not impose on ASSA ABLOY the obligation to finance a massive team of
attorneys and economists conducting a perpetual analysis of competition across an entire industry.

Second, it is clear from our discussion, as well as the burdensome document and data discovery
requests served on ASSA ABLOY, that you intend to conduct a detailed study of ASSA ABLOY’s
Smart Lock business for that entire five year period, even though the relevant question is instead the
competitive intensity of Fortune Brands’ Smart Lock business during the period from June 20, 2026
through September 23, 2028. As discussed in more detail below, the present demand for an ongoing
feed of detailed, transaction-level data for all ASSA ABLOY Smart Lock sales, as well as monthly
productions of multiple categories of ordinary course business documents, is simply not consistent
with the scope of the monitoring trustee’s obligation to investigate the competitive intensity of Fortune
        Case 1:22-cv-02791-ACR Document 144-4 Filed 06/18/24 Page 4 of 6
                                                     -3-

Brands years from now. Moreover, the requests you previewed on our call for meetings with ASSA
ABLOY business personnel to understand ASSA ABLOY’s Smart Lock business exceeds the plain
language of the relief in Section IV of the Final Judgment.

Third, it is also clear from our discussion that the monitoring trustee intends to evaluate competitive
dynamics that have nothing to do with any limitations on Fortune Brands’ rights to use the rights to the
Yale brand name or trademarks in the U.S. or Canada that ASSA ABLOY held as of the Divestiture
Date. On our call, you explained that you and your team of attorneys and economists intended to
evaluate all competitive conditions in the industry so that you could rule out whether conditions other
than trademark rights were the cause of any diminution in Fortune Brands’ competitive intensity. But
that is not the monitor’s responsibility. Part IV of the Final Judgment is clear that the first step is for the
monitor to determine whether there has been a diminution in competitive intensity “after three years.”
Id. at IV(a). Only then will the monitor determine if that diminution is somehow caused by limitations
on rights to the Yale trademarks in the U.S. or Canada. Id. at IV(b). You conceded on the call that the
monitor has not, at this time, identified any diminution in Fortune Brands’ competitive intensity, but
were nevertheless conducting a wide-ranging investigation into the drivers of competition in the Smart
Lock business. In essence, you are proposing the exact opposite of the inquiry set forth in the Final
Judgment—examining any and all competitive dynamics, for any and all market participants,
regardless of whether competitive intensity has increased or decreased, and completely untethered
to any assessment of the Yale trademark rights.

Fourth, we now understand that you intend to investigate in detail other ASSA ABLOY businesses that
do not sell Smart Locks. Specifically, during our call you stated you needed to look beyond residential
smart locks to “understand the interplay with commercial and multifamily” and how that interplay
impacts competition over time. But the Final Judgment explicitly focuses on “competitive intensity in
the residential Smart Locks business” and the connection of that intensity to the Yale brand name or
trademarks. Id. at Part IV. Again, expanding that focus to segments outside residential is contrary to
the plain language of the Final Judgment.

This is not a mere disagreement as to methodology. The document requests that you have served
and the invoices that you have submitted reflect the excessive burden, cost, and unreasonableness
of this incorrect interpretation of the Final Judgment.

Document and Data Requests

Document Request AA DR 06 asks for ongoing, monthly productions of “documentation included in
ASSA ABLOY’s standard business reviews and management reporting packages relating to the smart
lock business in the US” on a monthly or quarterly basis. The request goes on to state that it is not
limited to residential business but also includes multifamily and commercial and then identifies over a
dozen exemplary categories of documents, such as business plans, product plans, forecasts, and
board materials. Similarly, Document Request AA DR 16 requests ongoing productions of detailed
transactional level data from January 1, 2022 not only to the present but also on an ongoing basis
every six months for every smart lock product purchase. The request identifies 28 data fields that it
expects to be included.

None of these materials are related to the divested businesses, so we struggle to understand how
they relate to the monitoring trustee’s responsibility to assess Fortune Brands’ competitive intensity in
the residential Smart Lock business between June 20, 2026 and September 13, 2028, as ASSA
ABLOY’s internal business documents and detailed transaction data from 2024 have nothing to do
with Fortune Brands’ competitive intensity two years from now.

These requests, given their recurring nature and vast breadth, seem guaranteed to keep both ASSA
ABLOY and the monitoring trustee working on collecting, reviewing, analyzing, and discussing
        Case 1:22-cv-02791-ACR Document 144-4 Filed 06/18/24 Page 5 of 6
                                                  -4-

documents and data for years, even though there has been no determination made that Fortune
Brands’ competitive intensity actually declined, much less that it declined during the relevant time
period as a result of limitations on Yale trademark rights. The massive burden and cost associated
with such an exercise would effectively amount to an ongoing five year Second Request inquiry—
something ASSA ABLOY plainly never agreed to, and indeed never would have agreed to after a two
year investigation and litigation with the Department of Justice.

Invoices

The document requests and invoices submitted to date clearly demonstrate that ASSA ABLOY’s
concerns about the significantly outsized cost and burden associated with your overly broad reading
of Section IV of the Final Judgment are not merely theoretical. As of the date of this letter, ASSA
ABLOY has received five invoices. These invoices cover services purportedly performed by the
monitoring trustee and its economists in this matter during the months of September to December
2023 and February 2024. ASSA ABLOY has not yet received the January invoice, and ASSA ABLOY’S
legal department did not discover the February invoice until after our call on April 2. Rather than going
to the in-house legal team for review and processing, as requested, the February invoice had been
submitted directly to ASSA ABLOY’s accounts payable department. ASSA ABLOY is investigating to
determine whether the January invoice also was sent to a recipient other than the legal team.

                         Month       Invoiced Amount             Received
                       September     $76,656.72           December 15, 2023
                       October       $212,226.76          December 15, 2023
                       November      $439,185.35          December 20, 2023
                       December      $280,353.47          January 24, 2024
                       January       N/A                  Outstanding
                       February      $505,180.38          April 8, 2024
                       Total         $1,513,602.68

These invoices are extreme and excessive, especially given the scope of the monitoring trustee’s
duties in this matter. While the sum total indicates an average invoice size of over $300,000 per month
already, the trend of the invoices is increasing, increasing from less than $80,000 the first month to
over $200,000 the second month to over $500,000 for last month received. At this pace, monitoring
costs would exceed an astounding $15 million for the five-year duration of the monitorship.

We had hoped that the initially high invoices were the result of an initial “ramp-up” period in which the
attorneys and economists familiarize themselves with the matter and the extensive litigation record,
and that invoices would continue to decrease following the decrease from November to December.
We have yet to receive an invoice for January time, but the February invoice clearly shows that the
monitoring trustee’s incorrect interpretation of the Final Judgment is driving excessive attorney and
economist costs, even though there is admittedly no evidence whatsoever of any diminution in Fortune
Brands’ competitive intensity, must less any evidence of such diminution during the time period
relevant to the monitor’s analysis.
        Case 1:22-cv-02791-ACR Document 144-4 Filed 06/18/24 Page 6 of 6
                                                 -5-

ASSA ABLOY requests a meet and confer to discuss the scope of the monitor’s analysis in this matter
generally and the nature and breadth of the document and data requests specifically, as well as a
substantial reduction on the pending invoices reflecting the monitoring trustee acting “in a reasonable
cost-effective manner” consistent with proper scope of the Final Judgment. Id. at Part X.

Sincerely,

/s/ Lauren E. Battaglia

Lauren E. Battaglia
Partner
lauren.battaglia@hoganlovells.com
(202) 637-5761

cc:

Matthew R. Huppert
matthew.huppert@usdoj.gov

Jay D. Owen
jay.owen@usdoj.gov
